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AO 450 (GAS Rev 10/03) Judgment in a Civil Case

United States District Court
Southern District of Georgia

 

ROSALIND BACON,

Plaintiff,
JUDGMENT IN A CIVIL CASE

Vv. CASE NUMBER: 4:19-cv-299
LAUREN NOLTE, et al.,

Defendants

Jury Verdict. This action came before the Court for a trial by jury. The issues have been tried and the jury
has rendered its verdict.

Decision by Court.This action came before the Court. The issues have been considered and a decision has been

rendered.

IT IS ORDERED AND ADJUDGED
that, in accordance with the Court's Order dated August 27, 2020, adopting the United States

Magistrate Judge's Report and Recommendation as the opinion of the Court, judgment is hereby
entered overruling Plaintiff's objection and dismissing Plaintiff's complaint without prejudice. This

case stands closed.

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Approved by:

 

August 28, 2020 John E. Triplett, Acting Clerk

Date Clerk —
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(By) Deputy Clerk

 

 

 

GAS Rev 10/1/03
